           Case 4:23-cr-00031-KGB Document 3 Filed 02/07/23 Page 1 of 2                 U.s fBLEo
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                                                                                              .   ICT ARKANSAS

                             UNITED STATES DISTRICT COURT                                    EB O1 2023
                             EASTERN DISTRICT OF ARKANSAS                                 ' H. D
                                   CENTRAL DIVISION

UNITED STATES OF AMERICA                      )       No. 4:23CR   (X:I:f~~ l(Gg
                                              )
V.                                            )       21 U.S.C. §§ 841(a)(l), (b)(l)(C)
                                              )
BRIAN COX                                     )


                                         INDICTMENT

THE GRAND JURY CHARGES THAT:

                                            COUNTl

        On or about December 31, 2021, in the Eastern District of Arkansas, the defendant,

                                          BRIAN COX,

knowingly and intentionally possessed with intent to distribute a mixture and substance containing

a detectable amount of methamphetamine, a Schedule II controlled substance, in violation of Title

21, United States Code, Sections 841(a)(l) and 841(b)(l)(C).

                               FORFEITURE ALLEGATION 1

        Upon conviction of Count 1 of this Indictment, the defendant, BRIAN COX, shall forfeit

to the United States, under Title 21 , United States Code, Section 853(a)(l), all property

constituting, or derived from, any proceeds the person obtained, directly or indirectly, as a result

of the offense.

                               FORFEITURE ALLEGATION 2

       Upon conviction of Count 1 of this Indictment, the defendant, BRIAN COX, shall forfeit

to the United States, under Title 21, United States Code, Section 853(a)(2), all of the person's

prope1iy used or intended to be used, in any manner or part, to commit, or to facilitate the

commission of the offense.



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                               FORFEITURE ALLEGATION 3

       Upon conviction of Count 1 of this Indictment, the defendant, BRJAN COX, shall forfeit

to the United States, under Title 18, United States Code, Section 924( d), Title 21, United States

Code, Section 853, and Title 28, United States Code, Section 2461(c), all firearms and ammunition

involved in the commission of the offense.




                                                   2
